                                          Case 3:22-cv-00145-MMC Document 11 Filed 01/13/22 Page 1 of 1




                                   1

                                   2                                       UNITED STATES DISTRICT COURT

                                   3                                      NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     RESOURCE RENEWAL INSTITUTE, et                        Case No. 4:22-cv-00145-KAW
                                         al.,
                                   6                        Plaintiffs,                        CONSENT OR
                                   7                 v.                                        DECLINATION TO
                                                                                               MAGISTRATE JUDGE
                                   8                                                           JURISDICTION
                                         NATIONAL PARK SERVICE,
                                   9                        Defendants.
                                  10

                                  11           INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you

                                  12   (if you are the party) or the party you represent (if you are an attorney in the case) choose(s) to
Northern District of California
 United States District Court




                                  13   consent or decline magistrate judge jurisdiction in this matter. Sign this form below your selection.

                                  14           ( )        Consent to Magistrate Judge Jurisdiction

                                  15                      In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to

                                  16   have a United States magistrate judge conduct all further proceedings in this case, including trial

                                  17   and entry of final judgment. I understand that appeal from the judgment shall be taken directly to

                                  18   the United States Court of Appeals for the Ninth Circuit.

                                  19                      OR

                                  20           ( )        Decline Magistrate Judge Jurisdiction

                                  21                      In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United

                                  22   States magistrate judge conduct all further proceedings in this case and I hereby request that this

                                  23   case be reassigned to a United States district judge.

                                  24   DATE: 1/13/2022                                    NAME: ________________________________
                                                                                                   Laurence ("Laird") J. Lucas
                                  25                                                      COUNSEL FOR (OR “PRO SE”):

                                  26                                                      _______________________________________
                                                                                                        Plaintiffs
                                  27                                                      _______________________________________
                                                                                           /s/ Laurence ("Laird") J. Lucas
                                  28                                                      Signature

                                       REV. 9-19
